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              IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                       CENTRAL DIVISION




 NUTRACEUTICAL CORPORATION and
 SOLARAY, INC.,
         Plaintiffs,                                       MEMORANDUM DECISION
                                                           GRANTING DEFENDANTS’
                                                           MOTION FOR SUMMARY
                                                           JUDGMENT


                 vs.


 ANDREW VON ESCHENBACH, M.D.,                              Case No. 2:04-CV-00409 PGC
 Commissioner, U.S. Food and Drug
 Administration, UNITED STATES FOOD
 AND DRUG ADMINISTRATION, TOMMY
 G. THOMPSON, Secretary, Department of
 Health and Human Services, DEPARTMENT
 OF HEALTH AND HUMAN SERVICES,
 and UNITED STATES OF AMERICA,
         Defendants.




       In 2004, the Food and Drug Administration promulgated a rule that banned ephedrine-

alkaloid dietary supplements (“EDS”) at any dosage level from the United States market. Before

the effective date of this rule, the plaintiffs, Nutraceutical Corporation and Solaray, Inc.

(collectively, “Nutraceutical”), marketed EDS in the United States. In this suit against the FDA,

Andrew Von Eschenbach, Tommy Thompson, the Department of Health and Human Services,

and the United States, Nutraceutical seeks to enjoin the FDA from enforcing this rule. The Tenth
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Circuit already addressed a different portion of this case on appeal,1 upholding the validity of the

FDA’s final rule on EDS pursuant to the Food, Drug, and Cosmetic Act2 (FDCA), as amended by

the Dietary Supplement Health and Education Act3 (DSHEA).

       Nutraceutical now claims the final rule on EDS is invalid because the FDA gave

insufficient statutory notice and opportunity to comment on its use of a risk-benefit analysis to

determine that EDS are adulterated. Nutraceutical also alleges the FDA acted in an arbitrary and

capricious manner when it prohibited the marketing of EDS but failed to ban other products

containing ephedrine alkaloids, such as conventional foods and traditional Asian medicines.

While Nutraceutical’s counsel has ably presented Nutraceutical’s case, the case is simply

unpersuasive. The defendants have successfully shown the FDA’s process and its final rule

comply with the notice-and-comment requirements of the Administrative Procedures Act.4 The

defendants have also shown the FDA acted consistently with the statutory scheme by excluding

non-dietary supplement products containing ephedrine alkaloids from the reach of the final rule.

It did not act in an arbitrary or capricious manner or abuse its discretion. Accordingly, the court

finds Nutraceutical has failed to meet its burden in challenging the FDA’s action under the APA.




       1
           See Nutraceutical v. Von Eschenbach, 459 F.3d 1033 (10th Cir. 2006).
       2
           21 U.S.C. §§ 301–399 (2000 & Supp. 2006).
       3
        Publ. L. No. 103-417, 108 Stat. 4325 (1994) (codified as amended in scattered sections
of 21 U.S.C.).
       4
           5 U.S.C. §§ 500–584, 701–706 (2000 & Supp. 2006).

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                                          BACKGROUND

        Regulatory Framework

        The FDCA gives the FDA authority to “promulgate regulations for the efficient

enforcement of [the FDCA].”5 The DSHEA, which Congress enacted in 1994, amended the

FDCA. In the DSHEA, Congress instructed the federal government to “take swift action against

products that are unsafe or adulterated.”6

        The DSHEA defines a dietary supplement as adulterated (and, therefore, unmarketable in

the United States), if it “presents a significant or unreasonable risk of illness or injury under (i)

conditions of use recommended or suggested in labeling, or (ii) if no conditions of use are

suggested or recommended in the labeling, under ordinary conditions of use.”7 At issue is the

FDA’s regulation of EDS under the “unreasonable risk” provision of this statute.

        FDA’s Rulemaking

        As early as 1995, the FDA, faced with some evidence of the adverse effects of EDS on

health, discussed the potential public health problems arising from EDS use. Ephedrine alkaloids

belong to a pharmacological group of chemical stimulants. In the United States, manufacturers

marketed EDS as a substance helping people to lose weight, increase energy, and enhance

athletic performance. By January 1997, the FDA had received more than 800 reports of injuries

and illnesses associated with EDS use. At this time, the FDA began reviewing scientific studies


        5
            21 U.S.C. § 371(a).
        6
            DSHEA, 108 Stat. at 4326.
        7
            21 U.S.C. § 342 (f)(1)(A).

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and holding meetings on the safety of EDS. Also in 1997, the FDA began a rulemaking process,

soliciting public comment on a proposed rule containing the FDA’s contemplated formulation

and labeling restrictions for EDS.

       In brief, the FDA proposed that EDS would be considered adulterated if it contained eight

or more milligrams of ephedrine alkaloids per serving or if its labeling recommended use

resulting in an intake of eight or more milligrams within six hours, or twenty-four or more

milligrams as a total daily intake. Additionally, the rule proposed to (1) prohibit labeling that

would require a long-term intake of EDS to attain the purported effect, (2) prohibit manufacturers

from combining ephedrine alkaloids with other stimulants, (3) require warning statements

directing consumers not to take EDS for longer than seven days and alerting them to possible

drug interactions, (4) require additional warning statements to advise at-risk consumers of the

risks of EDS, and (5) require claims encouraging excessive, short-term intake to include a

warning that the recommended intake could cause serious, adverse health effects.

       In conjunction with the publication of its proposed rule, the FDA published the

administrative record it had compiled to that point — a record containing 221 scientific and other

references, as well as information on some of the adverse event reports the FDA had received.

Later that same year, after the FDA received additional adverse event reports and found some

omissions in the initial administrative record, the FDA reopened the period for public comment

and made an additional record available to the public. Over the course of the next seven years,

the FDA continued to compile and review scientific literature on EDS and continued to receive

adverse event reports from the public.


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       In August 1999, the General Accounting Office issued a report concluding the FDA was

generally justified in its consideration of EDS safety issues. However, the GAO recommended

the FDA “provide stronger evidence on the relationship between the intake of dietary

supplements containing ephedrine alkaloids and the occurrence of adverse reactions that support

the proposed dosing level and duration of use limits.”8 Consequently, the FDA hired an expert to

conduct further research on the health effects of EDS. Then, based on the report of the GAO as

well as comments the FDA had received on the EDS restrictions it proposed, the FDA withdrew

part of its proposed rule in April 2000. The agency stressed that its decision to withdraw part of

its proposal did not limit its discretion to take action regarding EDS. Rather, it reflected the

FDA’s decision “to reconsider, with public input, whether any dietary ingredient level or duration

of use limit for [EDS] is appropriate or whether alternative measures should be considered.”9

The FDA also announced the public availability of additional EDS-related scientific information

and adverse event reports, and it again invited interested parties to submit comments and new

information supporting the safety of EDS. Later, the FDA extended (and, at one point, reopened)

this comment period. And, in August 2000, a public meeting was held to discuss the safety of

EDS.

       After more scientific evidence about the risks of EDS came to light, the FDA — for the

fifth time — invited comment on its EDS proposal. With this invitation, the FDA proposed a



       8
         Dietary Supplements Containing Ephedrine Alkaloids, Withdrawal in Part, 65 Fed. Reg.
17,474, 17,475 (Apr. 3, 2000) (internal quotations omitted).
       9
           Id.

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warning statement for EDS. Tracking the language of § 342(f)(1) of the DSHEA, the FDA also

stated that it intended to consider

       whether in light of current information FDA should determine that dietary
       supplements containing ephedrine alkaloids present a ‘significant or unreasonable
       risk of illness or injury under conditions or use recommended or suggested in
       labeling, or if no conditions of use are suggested or recommended in the labeling,
       under ordinary conditions of use.’10

       In whole, the administrative record on EDS comprises more than 132,000 pages. The

FDA received more than 48,000 comments during its notice-and-comment periods, and the FDA

collected information on about 19,000 complaints or adverse events from EDS use. During the

course of this rulemaking process, Nutracuetical responded to the FDA’s request for comments

several times, requesting regulatory exemptions for low-dose EDS.

       On April 12, 2004, the FDA’s final rule regarding EDS took effect. Under the final rule,

parties can no longer market EDS in the United States — the FDA banned EDS at all dosage

levels. In reaching the final rule, the FDA noted that it looked at the “well-known pharmacology

of ephedrine alkaloids, the peer-reviewed scientific literature on the effects of ephedrine

alkaloids, and the adverse events reported to have occurred in individuals following consumption

of dietary supplements containing ephedrine alkaloids.”11 In the final rule, the FDA described, in

detail, the short-term and long-term medical risks EDS pose to consumers. For instance, it cited

evidence of increased blood pressure and resulting conditions such as stroke, heart attack, death,


       10
         Dietary Supplements Containing Ephedrine Alkaloids; Reopening of the Comment
Period, 68 Fed. Reg. 10,417, 10,419 (Mar. 5, 2003) (quoting 21 U.S.C. § 342(f)(1)(A)).
       11
        Final Rule Declaring Dietary Supplements Containing Ephedrine Alkaloids Adulterated
Because They Present an Unreasonable Risk, 69 Fed. Reg. 6788, 6788 (Feb. 11, 2004).

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and increased morbidity from heart failure and abnormal heart rhythms. Ultimately, the FDA

concluded “[t]he best clinical evidence for a benefit [from EDS use] . . . supports only a modest

short-term weight loss, insufficient to positively affect cardiovascular risk factors or health

conditions associated with being overweight or obese.”12 The FDA determined, based on its risk-

benefit analysis, that under all ordinary or recommended conditions of use, EDS present an

“unreasonable risk of illness or injury.”13 Accordingly, in the final rule, the FDA classified EDS

as an adulterated substance under the DSHEA.

       Procedural Background

       In April 2005, this court (Campbell, J.) granted summary judgment to Nutraceutical on its

claim that the FDA’s final rule banning the sale of EDS violated 21 U.S.C. § 342(f)(1).

Specifically, this court found the FDA’s use of a risk-benefit analysis to support the final rule

was contrary to Congress’ intent and that the FDA failed to establish EDS posed an unreasonable

risk of illness or injury at a dose of ten milligrams or less a day. The defendants appealed. On

August 17, 2006, the Tenth Circuit reversed this court’s decision and directed the court to enter

summary judgment for the defendants and against Nutraceutical. Specifically, the Tenth Circuit

held that “Congress unambiguously required the FDA to conduct a risk-benefit analysis under

DSHEA.”14 According to the Tenth Circuit, the FDA had demonstrated that any dose of EDS

posed an unreasonable risk of illness or injury, so the FDA’s decision to ban EDS completely


       12
            Id. at 6789.
       13
            Id. at 6788.
       14
            Nutraceutical, 459 F.3d at 1038.

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was justified.15 The Tenth Circuit remanded the case, and it was reassigned to the undersigned

judge. In accordance with the Tenth Circuit’s mandate, this court entered summary judgment for

the defendants with regard to Nutraceutical’s statutory challenge to the FDA’s ban of EDS. This

court then ordered further briefing on Nutraceutical’s two remaining causes of action.

Nutraceutical filed a motion for summary judgment on these two causes of action on December

20, 2006. The defendants responded by filing a cross-motion for summary judgment on January

18, 2007.

                              SCOPE AND STANDARD OF REVIEW

       In its pleadings, Nutraceutical seeks review of procedural and substantive components of

the FDA’s final rule, under the APA.16 Specifically, Nutraceutical asserts (1) the FDA violated

the APA by neglecting to adequately follow publication and comment requirements when

adopting its final rule, and (2) the FDA acted in an arbitrary and capricious manner in violation

of the APA when it banned EDS but failed to bring other products that contain ephedrine

alkaloids, such as food and traditional Asian medicines, within reach of the final rule.

       Although Nutraceutical requests judicial review of agency action under the APA, it styles

its motion as a motion for summary judgment. The defendants respond in kind, but point out that

“[r]eviews of agency action in the district courts must be processed as appeals.”17 The use of

summary judgment procedures in administrative appeals is prohibited because such procedures


       15
            Id. at 1040–43.
       16
            See 5 U.S.C. §§ 553, 706.
       17
            Olenhouse v. Commodity Credit Corp., 42 F.3d 1560, 1580 (10th Cir. 1994).

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“are conceptually incompatible with the very nature and purpose of an appeal.”18 In light of this,

the court has treated the motions of Nutraceutical and the defendants as cross-appeals.

Consequently, the court has substantively reviewed the administrative record to assess the FDA’s

actions and has considered no evidence outside of the administrative record and no post hoc

rationalizations of counsel.19

       Section 701 of the APA provides courts with authority to review agency actions unless

there is a statutory prohibition on such review or the action is committed to agency discretion as

a matter of law.20 Neither prohibition appears to be at issue here. In a case such as this one, the

“essential function of judicial review is a determination of (1) whether the agency acted within

the scope of its authority, (2) whether the agency complied with prescribed procedures, and (3)

whether the action is otherwise arbitrary, capricious, or an abuse of discretion.”21 The FDA’s

authority is not at issue here, but Nutraceutical challenges its compliance with procedures and the

arbitrariness and capriciousness of its action pursuant to the APA.

       Section 706 of the APA governs judicial review of both formal and informal agency

action. This section mandates that the

       reviewing court . . . hold unlawful and set aside agency action, findings, and
       conclusions found to be —



       18
            Id.
       19
            See id.
       20
          Thomas Brooks Chartered v. Burnett, 920 F.2d 634, 641–42 (10th Cir. 1990)
(construing 5 U.S.C. § 701 (a)(1)–(2)).
       21
            Olenhouse, 42 F.3d at 1574.

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               (A) arbitrary, capricious, an abuse of discretion, or otherwise not in
       accordance with law;
               (B) contrary to constitutional right, power, privilege, or immunity;
               (C) in excess of statutory jurisdiction, authority, or limitations, or short of
       statutory right;
               (D) without observance of procedure required by law . . . .22

Although a presumption of regularity attaches to agency decisions, the presumption does not

prevent courts from conducting “a thorough, probing, in-depth review.”23

                                          DISCUSSION

       The parties have asked the court to determine whether the FDA’s promulgation of the

final rule was inconsistent with APA requirements; specifically, the notice-and-comment

requirement and the prohibition against arbitrary and capricious agency action. The court finds

the FDA’s process and its final rule to be compliant with the APA’s notice-and-comment

requirements. Further, the FDA acted consistently with the statutory scheme by excluding non-

dietary supplement products containing ephedrine alkaloids from the reach of the final rule.

Accordingly, the court finds Nutraceutical has failed to meet its burden in challenging the FDA’s

action under the APA.

I.     THE FDA’S COMPLIANCE WITH PRESCRIBED PROCEDURES — NOTICE AND
       COMMENT

       Nutraceutical first alleges the FDA’s rulemaking was invalid because it failed to comply

with the APA’s publication requirements and comment requirements. With regard to

publication, Nutraceutical provides no support for its objections. The APA contains broad and


       22
            5 U.S.C. § 706.
       23
            Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402, 415 (1971).

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comprehensive publication requirements for agencies.24 But Nutraceutical fails to indicate which

provision the FDA violated or to offer any evidence to support such a claim. Instead,

Nutraceutical’s failure-to-publish argument seems more like a sufficiency-of-notice argument

under 5 U.S.C. § 553, so the court addresses it as such.

       With regard to notice and comment, Nutraceutical generally objects to the FDA’s alleged

failure to comply with the APA’s requirements and Nutraceutical alleges pointed and specific

notice-and-comment failures by the FDA. In particular, Nutraceutical objects to the FDA’s

alleged announcement of a consolidated standard in its proposed rule, then rejection of that

standard in its final rule, and to the FDA’s alleged failure to follow notice-and-comment

procedures before adopting a risk-benefit analysis. In addition, Nutraceutical claims that in

violation of notice-and comment procedures, the FDA rejected the requirement from its proposed

rule that harm from EDS be established causally, and it created a standard for all dietary

supplements in the final rule instead of limiting the standard to EDS, as in the proposed rule.

                    A.       General Challenge to Notice-and-Comment Procedures

       Section 553 of the APA sets forth the procedures agencies must follow in rulemaking.25

First, the agency must give notice of the proposed rulemaking:

       General notice of proposed rule making shall be published in the Federal Register,
       unless persons subject thereto are named and either personally served or otherwise
       have actual notice thereof in accordance with law. The notice shall include . . . either




       24
            See 5 U.S.C. § 552.
       25
            See id. § 553.

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       the terms or substance of the proposed rule or a description of the subjects and issues
       involved.26

But “the notice need not specifically identify ‘every precise proposal which [the agency] may

ultimately adopt as a final rule.’”27 Notice is adequate if it allows for meaningful public

participation by “‘fairly appris[ing] interested persons’ of the nature of the rulemaking.”28

       After the agency provides the requisite notice, it must provide an opportunity for

comment: “the agency shall give interested persons an opportunity to participate in the rule

making through submission of written data, views, or arguments with or without opportunity for

oral presentation.”29 The APA requires only limited opportunity to participate — no more. To

impose on the FDA more stringent procedural requirements than called for in § 553 would

violate the Supreme Court’s direction that agencies must have discretion to formulate their own

procedures.30

       After an agency subjects a proposal to this notice-and-comment process, it often

publishes a final rule. But it is not unusual for an agency’s final rule to differ from its proposed

rule. Change is often a natural result of the notice-and-comment procedure:



       26
            Id. § 553(b).
       27
         Chemical Mfrs. Ass’n v. EPA, 870 F.2d 177, 203 (5th Cir. 1989) (quoting United
Steelworkers of Am. v. Schuylkill Metals, 828 F.2d 314, 317 (5th Cir. 1987)).
       28
        United Steelworkers of Am. v. Marshall, 647 F.2d 1189, 1221 (D.C. Cir. 1980) (quoting
Am. Iron & Steel Inst v. EPA, 568 F.2d 284, 293 (3d Cir. 1977)).
       29
            5 U.S.C. § 553(c).
       30
         See Vermont Yankee Nuclear Power Corp. v. Natural Res. Defense Council, 435 U.S.
519, 543 (1978).

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         That an agency changes its approach to the difficult problems it must address does
         not signify the failure of the administrative process. Instead, an agency’s change of
         course, so long as generally consistent with the tenor of its original proposals,
         indicates that the agency treats the notice-and-comment process seriously . . . .31

The rule allowing an agency to make changes to its proposed rule after the notice-and-comment

period has ended, without requiring the agency to elicit a new round of comments, is “well

settled and sound.”32 “To hold otherwise would ‘lead to the absurdity that in rule making under

the APA the agency can learn from the comments on its proposals only at the peril of starting a

new procedural round of commentary.’”33 Generally, if the final rule is a “logical outgrowth” of

the proposed rule, the notice of proposed rulemaking will be sufficient to forecast the final rule.34

         In this case, the FDA provided the public with generous notice that it planned to regulate

EDS under 21 U.S.C. § 342(f)(1)(A). The FDA published its proposed rule in the Federal

Register in 1997, flagging its concerns about the safety of EDS.35 In total, the EDS rulemaking

process spanned seven years and included five comment periods — the FDA received over

48,000 comments. During this time, the FDA continued to release additional scientific evidence




         31
              Am. Med. Ass’n v. United States, 887 F.2d 760, 767 (7th Cir. 1989).
         32
              Beirne v. Sec’y of the Dep’t of Agric., 645 F.2d 862, 865 (10th Cir. 1981).
         33
          Id. (quoting Int’l Harvester Co. v. Ruckelshaus, 478 F.2d 615, 632 n.51 (D.C. Cir.
1973)); see also Small Refiner Lead Phase-Down Task Force v. EPA, 705 F.2d 506, 546–47
(D.C. Cir. 1983).
         34
         See Small Refiner, 705 F.2d at 547; see also Am. Mining Congress v. Thomas, 772 F.2d
617, 637 (10th Cir. 1985).
         35
              Dietary Supplements Containing Ephedrine Alkaloids, 62 Fed. Reg. 30,678 (June 4,
1997).

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as well as information on the ever-increasing, EDS-related complaints and adverse event reports

submitted to the FDA.

       These extensive notice-and-comment efforts easily meet APA requirements, even though

the FDA’s final rule differed from the proposed rule, because the final rule was a logical

outgrowth of the 1997 proposal. Indeed, it would seem odd for the FDA to continue to endorse

its proposed rule after reviewing such an extensive and long-spanning record. The notices in the

Federal Register between 1997 and 2004 more than adequately revealed the subject matter of the

final rule and foreshadowed the probable outcome. In other words, in light of the Federal

Register notices, the final rule was foreseeable. First, both the proposed rule and the final rule

address the adulteration of EDS and degree and type of restrictions necessary to manage the risks

of EDS. And from 1997 until 2004, the FDA repeatedly gave notice that it was specifically

considering whether the FDA should find EDS adulterated (and, therefore, prohibited) under 21

U.S.C. § 342(f)(1)(A). In both the final and the proposed rules, the FDA cited the adulteration

standard of § 342(f)(1)(A) as a basis for its regulatory authority. Also, in the record

accompanying the proposed rule, the FDA discussed the specific range of alternatives it had

available to it. As one option, the FDA considered “[b]an[ning] dietary supplements that contain

ephedrine alkaloids.”36 Expounding on this option, the FDA pointed to a significant reduction in

the expected number of adverse events that would result from such a ban. This notice alone

amply alerted the public that the FDA might adopt a final rule that included any strategy




       36
            Id. at 30,705.

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available under the DSHEA to regulate EDS and it forecast the possibility that the FDA would

ultimately decide to ban EDS.

        The unfolding of the “comment” process also lends support to the conclusion that the

FDA’s notice was adequate. Each of the five times it opened up comment periods, the FDA

specifically requested information about the safety of EDS. And when the FDA solicited

comments in March 2003, it requested comments on whether EDS posed an unreasonable risk of

illness or injury under § 342(f)(1)(A), forecasting its use of this standard in the final rule.

Additionally, the comments submitted to the FDA demonstrate the adequacy of the notice. For

example, a number of comments submitted specifically address a risk-benefit analysis when

discussing “unreasonable risk.” Such comments, while not determinative of the adequacy of the

notice, provide support for a finding that the final rule was a logical outgrowth of the proposed

rule.37 Therefore, although the extent of the regulatory restrictions in the final rule differed from

the proposed rule, the progression to the final rule was predictable.

        Nutraceutical’s own participation in the rulemaking process belies its claims that the

FDA provided statutorily inadequate notice or failed to comply with comment requirements.

Nutraceutical was repeatedly involved in the process — from 1997 to the time the FDA

promulgated the final rule — submitting detailed comments. That the FDA was unpersuaded by

Nutraceutical’s requests to exempt its product from regulation does not call into question the

sufficiency of the FDA’s notice-and-comment procedures. Nutraceutical had notice the FDA

might adopt any degree of regulation required to address its concerns about the safety of EDS and


        37
             See Shell Oil Co. v. EPA, 950 F.2d 741, 757 (D.C. Cir. 1991).

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Nutraceutical had a full and fair opportunity to comment on all significant issues during the

rulemaking process.

       In sum, the court cannot find the notice-and-comment procedures the FDA followed to be

violative of § 553 or to be otherwise constitutionally impermissible. The FDA fairly apprised

interested parties of the nature of the rulemaking and provided them with a meaningful

opportunity to participate.

                  B.    Specific Challenges to Notice-and-Comment Procedures

       In addition to making a general challenge to the sufficiency of the notice-and-comment

procedures afforded by the FDA, Nutraceutical specifically objects to the FDA’s alleged

announcement of a consolidated standard in its proposed rule, then rejection of that standard in

its final rule. And Nutraceutical argues the FDA should have subjected its adoption of a risk-

benefit analysis to notice-and-comment procedures. Further, Nutraceutical claims the FDA

violated notice-and-comment requirements by moving from a causal requirement in its proposed

standard to no such requirement in its final rule, and by announcing a standard for all dietary

supplements in the final rule even though it limited the proposed rule to EDS.

       1.      Rejection of a Consolidated Standard

       Nutraceutical argues the FDA violated the APA by failing to provide notice and an

opportunity to comment on its alleged change from a “consolidated” standard in its 1997

proposal to a risk-benefit analysis in its final rule. At the outset, this particular challenge appears

to be foreclosed because it is a new argument — Nutraceutical did not raise this alleged policy

change in its complaint or its statement of the causes of action remaining. In both documents,


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Nutraceutical alleged only that the FDA “failed to provide advance notice and opportunity for

public comment on its new risk/benefit standard” in violation of the APA.38 This omission

forecloses Nutraceutical’s argument, since the purpose of the parties’ briefs and this order is to

deal with the remaining issues in the case — not to address new arguments.

       Even if Nutraceutical had properly made this allegation, the claim fails on the merits.

Nutraceutical’s claim fails because the FDA never expressed an intent to rely on a consolidated

standard and never actually relied on such a standard. This undercuts Nutraceutical’s entire

argument, because unless the FDA used a consolidated standard or expressed an intent to rely on

such a standard, the FDA could not reject or alter the standard. And the FDA would have no

requirement to provide notice or request comment on a nonexistent standard. Nutraceutical

contends that in the FDA’s proposed rule, it combined the adulteration standard of “injurious to

health” from § 342(a)(1), with both the “significant risk” and “unreasonable risk” standards from

§ 342(f)(1)(A). This newly-created standard, argues Nutraceutical, consolidated standards for

dietary supplements and conventional foods into one. The FDA responds that it referred to both

the “injurious to health” standards and the “significant or unreasonable risk” standards as

independent bases for finding EDS to be adulterated, but it never consolidated the two standards.

       In its proposed rule, the FDA tentatively determined that, to effectively address the risks

of EDS, several measures needed to be addressed, including: (1) limiting ephedrine alkaloids to

less than eight milligrams per serving; (2) requiring the label to limit ephedrine alkaloids to an

intake of less than eight milligrams in a six-hour period and a total daily intake of less than


       38
            Compl. 11, ¶ 46 (Docket No. 1).

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twenty-four milligrams; (3) requiring the label to state that the product should not be used for

more than seven days; and (4) prohibiting the use of ingredients with stimulant effects in

combination with EDS. The FDA specifically cited to § 342(f)(1)(A) in its discussion of the

each of these four factors. With regard to the first measure, the FDA also determined that a

finding of adulteration possibly could be supported by § 342(a)(1) because a level of ephedrine

alkaloids higher than eight milligrams may make the supplement injurious to health.

       Nutraceutical stretches things too far by claiming this citation to two different provisions

of the FDCA as authority for the FDA’s proposal somehow creates a new policy or consolidated

standard. The plain language of the proposed rule supports the FDA’s claim that the standards

remain distinct. Nutraceutical repeatedly cites the following language from the proposed rule:

               Based on the available evidence and the likely sources of measurement error
       around estimated intake levels, the agency tentatively concludes that the use of
       dietary supplements containing 8 mg or more ephedrine alkaloids per serving may
       render the dietary supplement injurious to health. The agency also tentatively
       concludes that consumption of dietary supplements that contain this level or more of
       ephedrine alkaloids presents a significant and unreasonable risk of illness or injury
       under the conditions of use recommended or suggested in the labeling . . . .39

But the court fails to see how this passage supports Nutraceutical’s claim. Nowhere does the

FDA state (or even imply) it adopted a standard combining § 342(a)(1) with § 342(f)(1)(A).

Rather, the FDA again referred to two possible grounds for its regulatory approach. It tentatively

concluded EDS containing eight or more milligrams of ephedrine alkaloids might be injurious to

health under § 342(a)(1). It also tentatively concluded these same EDS posed both a significant

and an unreasonable risk under § 342(f)(1)(A). This wording does not indicate a combined


       39
            Dietary Supplements Containing Ephedrine Alkaloids, 62 Fed. Reg. at 30,693.

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standard of “injurious to health” and “significant risk” and “unreasonable” risk, nor does it

indicate the FDA consolidated the standards applicable to conventional foods with those

applicable to dietary supplements. This citation to and use of two independent grounds of

authority provided notice the FDA might rely on either or both of the provisions in the final rule

— it did not constitute an adoption of a consolidated standard.

          As further evidence that the FDA had endorsed a standard (the consolidated standard) and

departed from it, Nutraceutical cites to the FDA’s statement in the final rule that it was

pronouncing an unreasonable risk standard for the first time. Nutraceutical repeats the “first

time” language again and again in its pleadings, as if the phrase somehow magically proves the

FDA utilized statutorily inadequate notice-and-comment procedures. But the defendants

persuasively explain that with this language, the FDA was simply noting that it had not removed

products from the market under the DSHEA’s adulteration of dietary supplements provision

before.

          This explanation is consistent with and supported by the FDA’s own language in the

administrative record. In the final rule, the FDA explained that it used its rulemaking authority

to address EDS because it was “articulating a standard for unreasonable risk under 402(f)(1)(A)

[§ 342(f)(1)(A)] of the act for the first time and because it is more efficient to declare these

products adulterated as a category than to remove them from the market in individual

enforcement actions.”40 In other words, the FDA simply observed that because it was

interpreting the adulteration standard of § 342(f)(1)(A) for the first time, it used its rulemaking


          40
               Final Rule, 69 Fed. Reg. at 6794.

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power (with the attendant notice-and-comment procedures) — not that it was articulating a brand

new standard for the first time in the final rule. In sum, nothing in this passage supports

Nutraceutical’s contention that the FDA utilized, then rejected, a consolidated standard in favor

of the risk-benefit standard.

       Nutraceutical also argues the FDA conflated or combined the standards of “significant”

with “unreasonable” when discussing the degree of risk pursuant to § 342(f)(1)(A). Specifically,

Nutraceutical argues the FDA’s reference, in its 1997 proposal, to the “significant and

unreasonable” risk posed by EDS,41 establishes that the FDA initially interpreted § 342(f)(1)(A)

as containing a single adulteration standard. In other words, Nutraceutical alleges the FDA

viewed “significant” and “unreasonable” as conjunctive, rather than as disjunctive standards.

According to Nutraceutical, by focusing on the unreasonable risk posed by EDS in the final rule,

the FDA divorced these concepts. Because the FDA did not provide notice or request comment

on this change, argues Nutraceutical, it was impossible to foresee the FDA’s reliance on the

unreasonable risk standard in the final rule. Again, Nutraceutical’s argument founders on the

plain language in the administrative record. Multiple times in the record accompanying the

proposed rule, the FDA referred to the adulteration standard as requiring a showing of a

significant or an unreasonable risk. Only in the FDA’s conclusory section did it refer to the risk

as significant and unreasonable. In doing so, the FDA merely expressed its opinion that EDS

would be adulterated under both prongs of § 342(f)(1)(A) — that the risk was significant and it

was unreasonable. It is illogical to argue that because the FDA used “and” between the terms


       41
            Dietary Supplements Containing Ephedrine Alkaloids, 62 Fed. Reg. at 30693.

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instead of using separate sentences, the FDA failed to recognize the independent nature of the

terms or to give “significant risk” a meaning separate and independent from “unreasonable

risk.”42

           In short, Nutraceutical’s argument that the FDA adopted, then rejected, a consolidated

standard without providing for sufficient notice and comment fails. Because a consolidated

standard never existed, it is impossible for the FDA to have departed from the standard without

sufficient allowance for notice and comment.

           2.        Risk-Benefit Analysis

           Nutraceutical next alleges the FDA failed to comply with the notice-and-comment

requirements of the APA by defining “unreasonable risk” under § 342(f)(1)(A) in the final rule as

requiring a risk-benefit analysis. Nutraceutical argues the FDA needed to provide notice and

solicit comments with respect to its intent to use the risk-benefit interpretation and the weight it

intended to assign to each term. The defendants respond that the FDA was not required to

subject its risk-benefit standard to notice-and-comment procedures because it rests on a

congressional statute rather than an FDA initiative.

           Under the APA, notice-and-comment requirements apply to substantive rules established

via rulemaking.43 A substantive rule is a rule that “‘establishes a standard of conduct which has


           42
          Insofar as Nutraceutical argues the FDA erred by failing to give full weight to the
significance of the risk under § 342(f)(1)(A), the argument fails. The Tenth Circuit decided
“unreasonable risk” had independent meaning and the FDA met its statutory burden under
DSHEA by regulating EDS pursuant to the phrase “unreasonable risk.” See Nutraceutical, 459
F.3d at 1039–40, 1044.
           43
                See 5 U.S.C. § 553.

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the force of law.’”44 Interpretive rules, on the other hand, are subject to no such requirements.45

To hold that an agency must follow notice-and-comment procedures when interpreting statutory

language would lead to unreasonable results. It would effectively require agencies to submit

their interpretations of each word in the statutes over which they have enforcement authority to

the public for comment. Only after receiving comment and releasing an official interpretation of

each statutory term could the agency undertake notice and comment on its proposed regulation

— its substantive rule. Following Nutraceutical’s logic, an agency could technically be required

to submit for public comment its definitions of the terms it used to define statutory terms. This

type of requirement would make timely rulemaking impracticable. Agencies have inherent

authority to interpret terms in statutes over which they have enforcement authority, and mere

interpretations of statutory language are not subject to the notice-and-comment provisions of the

APA.46

         The interpretation of the phrase “unreasonable risk” falls squarely within the FDA’s

inherent authority to interpret statutory terms it has authority to enforce. Congress imposed the

requirements and standards at issue with its enactment of the DSHEA. The plain language of the

DSHEA directs the FDA to “restrict distribution of dietary supplements which pose any risk that

is unreasonable in light of its potential benefits.”47 By interpreting and implementing the

         44
        Am. Mining Congress, 671 F.2d at 1263 (quoting Pac. Gas & Elec. Co. v. Fed. Power
Comm’n, 506 F.2d 33, 38 (D.C. Cir. 1974)).
         45
              See 5 U.S.C. § 553(b).
         46
              See York v. Sec’y of Treasury, 774 F.2d 417, 420 (10th Cir. 1985).
         47
              Nutraceutical, 459 F.3d at 1038 (emphasis added).

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“unreasonable risk” standard as requiring a risk-benefit analysis, the FDA did not make new law.

It interpreted a specific statutory term, but imposed no new requirements and made no

discretionary judgment as to how to implement a statutory mandate. Only the final EDS rule is a

substantive rule which establishes “a standard of conduct which has the force of law.”48 But as

discussed before, the final rule was appropriately subject to the APA’s notice-and-comment

requirements with regard to the FDA’s consideration of whether to find EDS adulterated under §

342(f)(1)(A).

       The Tenth Circuit’s opinion on appeal further obviates any argument that the FDA

violated the APA by failing to give notice of its intended use of a risk-benefit analysis. The

Tenth Circuit determined that in assessing whether EDS poses an unreasonable risk of illness or

injury, “Congress unambiguously required the FDA to conduct a risk-benefit analysis under

DSHEA.”49 In other words, the “unreasonable risk” standard absolutely requires the risk-benefit

analysis the FDA used50 — the FDA interpreted the term correctly and simply followed

congressional directive.51 Therefore, the risk-benefit interpretation of “unreasonable risk” was a

logical outgrowth of the proposed rule — a proposal which relied in part on the “unreasonable

risk” standard. As a side note, to the extent that any of Nutraceutical’s contentions reargue the




       48
            Am. Mining Congress, 671 F.2d at 1263.
       49
            Nutraceutical, 459 F.3d at 1038.
       50
            See id.
       51
            Id. at 1043.

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statutory meaning of “unreasonable risk” or the FDA’s adoption of a risk-benefit analysis, the

court rejects them in light of the Tenth Circuit’s decision on the appeal.

       In sum, Nutraceutical conflates the FDA’s interpretation of the statutory standard of

“unreasonable risk” with the creation of a new standard. Although the final rule is substantive, in

light of the language of the DSHEA, the FDA’s interpretation of “unreasonable risk” cannot be

called substantive rulemaking. Because the FDA’s interpretation of “unreasonable risk” in §

342(f)(1)(A) constitutes an interpretive rule, as opposed to a substantive rule, the FDA had no

requirement to subject the adoption of the risk-benefit analysis of “unreasonable risk” to notice-

and-comment procedures.

       3.      Causation and Scope Objections

       Finally, Nutraceutical alleges that in violation of the APA’s notice-and-comment

requirements, the FDA moved from a requirement to establish harm from EDS causally in the

proposed rule to no such requirement in the final rule, and the FDA limited the proposed rule to

EDS but created a standard for all dietary supplements in the final rule. Both arguments are

meritless.

       Nutraceutical supports its contention that the proposed rule required proof EDS caused

harm by citing the FDA’s discussion of adverse event reports. But in this discussion, the FDA

never adopted a causal standard. Instead, the FDA legitimately assessed the underlying causal

relationship of EDS with adverse events in order to avoid the “serious misinterpretation of data”

that may spring from “inappropriately assuming that a cause and effect relationship exists




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between a particular exposure and a particular adverse event.”52 Neither this assessment nor the

FDA’s use of adverse event reports (essentially, complaints that EDS caused harm) to support its

EDS restrictions transforms the FDA’s risk standard into a causation standard. The proposed

rule never required (or even implied) actual harm had to be established by causation. Instead,

both the proposed rule and final rule focused on the risk of harm, in accordance with the plain-

language requirement of § 342(f)(1)(A). As but one example of this focus, in the proposed rule,

the FDA specifically noted that adverse events from EDS “occur in individuals who have no

apparent risk factors, or who are unaware that they are at risk.”53

       At some points in its pleadings, Nutracuetical presents a slightly different twist to this

same argument. Rather than claiming the FDA first required proof EDS caused harm, then

rejected this requirement, Nutraceutical alleges the FDA adopted, then rejected, a standard

“where harm could be proven causally.”54 This variation of the theme fails to help Nutraceutical.

That the proposed standard allegedly could be proven causally and the final standard could not is

a non-issue in light of the fact that the FDA never adopted a causal component. In other words,

this variation in how the standards could be met does not change the sufficiency of the notice-

and-comment procedures the FDA afforded or undermine the predictability of the final rule.

       The administrative record similarly fails to support Nutraceutical’s claim that the final

rule covered all dietary supplements while the proposed rule applied only to EDS. The plain


       52
            Dietary Supplements Containing Ephedrine Alkaloids, 62 Fed. Reg. at 30,689–90.
       53
            Id. at 30,693 (emphasis added).
       54
            Pls.’ Reply in Supp. of Mot. for Summ. J. 2 (Docket No. 54) (emphasis added).

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language of the proposal and the final rule constitutes the clearest evidence that both rules

applied only to EDS. First, the proposed rule was entitled “Dietary Supplements Containing

Ephedrine Alkaloids,”55 and the final rule was entitled, “Final Rule Declaring Dietary

Supplements Containing Ephedrine Alkaloids Adulterated Because They Present an

Unreasonable Risk.”56 Next, the language within the final rule specifically brings EDS within its

ambit, not other dietary supplements: “[t]his final rule applies to dietary supplements containing

ephedrine alkaloids.”57 Indeed, the FDA responded to a comment challenging the “unreasonable

risk” standard by explaining the limited reach of its rule: “We are using our general rulemaking

authority . . . to issue a regulation applying the [“unreasonable risk”] standard in the context of a

particular category of dietary supplements — those that contain botanical ephedrine alkaloids.”58

Nutraceutical cites to no language in the final rule indicating an intent to create a new

adulteration standard for all dietary supplements. If, with its argument, Nutraceutical is objecting

to the effect the FDA’s adoption of a risk-benefit analysis of “unreasonable risk” might

ultimately have on the regulation of other dietary supplements pursuant to § 342(f)(1)(A),

Nutraceutical’s objection also fails. The FDA explicitly limited its rulemaking and the reach of

its final rule to EDS. It is unreasonable to ask the FDA to predict future reverberations of its

interpretation of “unreasonable risk” on other products. The FDA provided notice in the Federal



       55
            Dietary Supplements Containing Ephedrine Alkaloids, 62 Fed. Reg. at 30,678.
       56
            Final Rule, 69 Fed. Reg. at 6788.
       57
            Id. at 6793.
       58
            Id. at 6796.

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Register and accepted comments from all interested parties. All who believed they might be

disadvantaged by this approach had the chance to be heard.

       Ultimately, because the FDA’s proposed rule did not include a causal component to

establish harm, and the final rule applied only to EDS and did not create a standard for all dietary

supplements, the FDA had no requirement to subject either “change” to notice-and-comment

procedures.

II.    THE FDA’s REGULATION OF EDS ONLY — ARBITRARY AND CAPRICIOUS
       CHALLENGE

       In addition to its notice-and-comment challenges, Nutraceutical calls the FDA’s bar of

EDS arbitrary and capricious since the FDA did not similarly prohibit ephedrine alkaloids in

conventional foods or traditional Asian medicines. The defendants respond that the FDA simply

and permissibly followed Congress’ scheme by only prohibiting EDS.

       “The APA reflects the principles of Chevron and ‘provides that agency action must be set

aside if the action was arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law’ or if the action failed to meet statutory, procedural, or constitutional

requirements.”59 Under this “arbitrary or capricious” standard, the court’s review is “‘narrow and

deferential.’”60 Regulations are presumed to be valid, and are subject only to rational basis

review.61 Agency action will be set aside only

       59
         Nutraceutical, 459 F.3d at 1038 (quoting Valley Cmty. Pres. Comm’n v. Mineta, 373
F.3d 1078, 1084 (10th Cir. 2004)).
       60
         Id. (quoting Slingluff v. Occupational Safety & Health Review Comm’n, 425 F.3d 861,
866 (10th Cir. 2005)).
       61
            Id.

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       if the agency has relied on factors which Congress has not intended it to consider,
       entirely failed to consider an important aspect of the problem, offered an explanation
       for its decision that runs counter to the evidence before the agency, or is so
       implausible that it could not be ascribed to a difference in view or the product of
       agency expertise.62

When applying the arbitrary and capricious standard, the court focuses on the rationality of the

decisionmaking process of the agency, not the rationality of the agency’s actual decision.63 From

the facts in the record, the court must be able to conclude the agency’s action was the product of

reasoned decisionmaking.64

       Contrary to Nutraceutical’s claims, the FDA’s separate regulation of EDS is not arbitrary

or capricious because it is consistent with the regulatory scheme of the DSHEA. Agency power

to make rules “carries with it the responsibility . . . to remain consistent with the government

legislation.”65 The DSHEA requires the FDA to regulate dietary supplements differently than

conventional foods — conventional foods and other drug products are subject to their own

statutory and regulatory requirements, including some requirements to which dietary supplements

are not always subject. And while some provisions of § 342 apply to all foods, certain provisions

(such as § 342(f)(1)(A)) apply solely to dietary supplements and their ingredients.66 Section

342(f)(1)(A), therefore, does not apply to conventional foods or traditional Asian medicines. In



       62
            Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).
       63
            Olehouse, 42 F.3d at 1575.
       64
            Id.
       65
            Morton v. Ruiz, 415 U.S. 199, 232 (1974).
       66
            See 21 U.S.C. § 342(f)(1)(A).

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other words, conventional foods and other types of products cannot be found adulterated under

the unreasonable-risk provision of the DSHEA — and it is impossible for products to be

arbitrarily exempted from a rule that could never have applied to them. Congress drew these

regulatory distinctions, not the FDA. Considering that Congress specifically provided for this

separate regulation of dietary supplements, the FDA’s regulation of EDS separately from other

ephedrine-alkaloid products is consistent with the statutory scheme. In its rulemaking, the FDA

simply followed Congress’ determination that dietary supplements be subject to a standard — the

“unreasonable risk” standard — that does not apply to conventional foods. The court cannot say

that by following Congress’ provision, the FDA acted unreasonably or that it acted in an arbitrary

or capricious manner.

       Even if Congress’ statutory scheme had not provided for separate and distinctive

regulation of dietary supplements, the FDA’s regulation of EDS (and not other ephedrine-

alkaloid products) falls well within its discretion. In the absence of a congressional directive,

much of the decision of when to regulate a specific substance, what substance to regulate, and

how, must necessarily be left up to the FDA.67 And in this case, the FDA faced a congressional

directive to “take swift action against products that are unsafe or adulterated.”68 Thus, the court

cannot say it was unreasonable for the FDA to focus on regulating EDS before focusing on the

regulation of other products containing ephedrine alkaloids. The FDA had comprehensively

reviewed the risks of EDS and, as the Tenth Circuit noted,


       67
            See Vermont Yankee, 435 U.S. at 543.
       68
            DSHEA, 108 Stat. at 4326.

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       [t]he FDA’s extensive research identified the dose level at which ephedrine alkaloids
       present unreasonable risk of illness or injury to be so minuscule that no amount of
       EDS is reasonably safe. The FDA reasonably concluded that there is no
       recommended dose of EDS that does not present an unreasonable risk.69

As early as 1995, the FDA was faced with evidence of the adverse effects of EDS, and during its

rulemaking, the FDA obtained information on about 19,000 complaints related to the use of

EDS. There is no indication the FDA faced any similar evidence of the adverse effects of other

products containing ephedrine alkaloids or that any similar impetus existed with regard to such

products.

       Indeed, the FDA considered the use of other products containing ephedrine alkaloids in

its rulemaking, but noted that “conditions of use are so different.”70 “Not only are dietary

supplements marketed for different uses than the traditional use of Ephedra, most dietary

supplements are marketed in a form that is different than the form in which it has been

traditionally used.”71 Because of these differences, the FDA found the use of ephedrine alkaloids

in traditional Asian medicine would not forecast the safety or effects of EDS.72 Ultimately,

therefore, the court cannot say the FDA’s decision to prohibit EDS without similarly prohibiting

ephedrine alkaloids in conventional foods or traditional Asian medicines was unreasoned or

otherwise arbitrary or capricious.




       69
            Nutraceutical, 459 F.3d at 1043.
       70
            Dietary Supplements Containing Ephedrine Alkaloids, 62 Fed. Reg. at 30,705.
       71
            Id.
       72
            Id.

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       In short, the FDA acted in accordance with the statutory scheme by restricting the

application of its final rule to EDS and restricting the scope of its regulatory activities to EDS.

And even if no clear statutory scheme had existed, the FDA has authority to reasonably dictate

the timing, scope, and manner of its own regulatory priorities. In other words, the FDA is free to

proceed one step at a time.

                                          CONCLUSION

       The court finds the FDA’s rulemaking with regard to EDS to be procedurally and

substantively proper. Consequently, Nutraceutical’s motion for summary judgment / appeal

[#45] is denied, and the defendants’ cross-motion for summary judgment / cross-appeal [#50] is

granted. The Clerk’s Office is directed to enter judgment accordingly and to close this case.

       DATED this 16th day of March, 2007.

                                       BY THE COURT:


                                       _______________________
                                       Paul G. Cassell
                                       United States District Judge




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